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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

GEORGIA MUSLIM VOTER                      *
PROJECT, et al.,                          *
                                          *
      Plaintiffs,                         *        CA No. 1:18cv4789-LMM
                                          *
vs.                                       *
                                          *
BRIAN KEMP, in his official capacity      *
as Secretary of State of Georgia, et al., *
                                          *
      Defendants.                         *
___________________________________ *
RHONDA J. MARTIN, et al.,                 *
                                          *
      Plaintiffs,                         *        CA No. 1:18cv4776-LMM
                                          *
vs.                                       *
                                          *
BRIAN KEMP, in his official capacity      *
as Secretary of State of Georgia, et al., *
                                          *
      Defendants.                         *
___________________________________ *

    DEFENDANT BRIAN KEMP’S EMERGENCY1 MOTION FOR STAY
        PENDING APPEAL OF PRELIMINARY INJUNCTION



1
  There exists good cause for treating this as an emergency motion and waiving the
time requirements of Local Rule 7.1. This Court’s injunction requires substantial
changes and additions to election processes in the middle of an ongoing election, and
it will continue to cause irreparable harm as long as it remains in place. Secretary
Kemp thus asks this Court to rule on the motion as soon as possible.
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      Defendant Brian Kemp moves this Court for a stay pending appeal of its order

granting a preliminary injunction in these cases. Last-minute challenges to

longstanding election procedures have long been disfavored because they threaten to

disrupt the orderly administration of elections, which is essential to the functioning of

our participatory democracy. This Court’s preliminary injunction is a case in point;

by adding brand new, untested processes ad hoc to long established election

procedures at the eleventh hour, it will introduce uncertainty and confusion under

extreme time pressure at best, and it risks undermining the integrity of the State’s

election process. Staying that injunction to allow review by the Eleventh Circuit will

ensure at least a measure of careful deliberation before upending the State’s election

processes in the middle of a general election.2



2
  The Order is appealable as an injunction, notwithstanding the fact that it is labeled a
“Temporary Restraining Order” in the heading. (Doc. 32 at 2). Courts examine the
nature and function of an order in order to determine whether an order is appealable,
and the trial court’s label is not decisive. Mamma Mia’s Trattoria v. Original
Brooklyn Water Bagel Co., 768 F.3d 1320, 1326, n.5 (11th Cir. 2014) (“Though the
court did not specifically label its proscription as an injunction, the functional effect
of the order controls.”); Mitsubishi Int’l Corp. v. Cardinal Textile Sales, Inc.,, 14 F.3d
1507, 1515, n. 14 (“This court is not bound to accept a district court’s
characterization of its own rulings.”) See also Northeast Ohio Coalition for the
Homeless v. Blackwell, 467 F.3d 999, 1005 (6th Cir. 2006) (an order is appealable “if
it has the practical effect of an injunction” and “the label attached to an order by the
trial court is not decisive”). In ordering the Secretary to undertake affirmative action,
this Order is in substance an injunction, and this Court identified it as an “injunction”
in the body of the Order. (Doc. 32 at 3, ¶ 3).
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                                    ARGUMENT

  Secretary Kemp is Entitled to a Stay Pending Appeal of This Court’s Order
                     Granting a Preliminary Injunction.

      “[A]s part of its traditional equipment for the administration of justice, a

federal court can stay the enforcement of a judgment pending the outcome of an

appeal.” Nken v. Holder, 556 U.S. 418, 421 (2009). Courts consider four factors to

determine whether to grant a stay pending appeal: “(1) whether the stay applicant has

made a strong showing that he is likely to succeed on the merits; (2) whether the

applicant will be irreparably injured absent a stay; (3) whether issuance of the stay

will substantially injure the other parties interested in the proceeding; and (4) where

the public interest lies.” Hand v. Scott, 888 F.3d 1206, 1207 (11th Cir. 2018)

(quoting Nken, 556 U.S. at 426). “The first two factors are the ‘most critical.’” Id.

      Each of these factors favors granting a stay pending Secretary Kemp’s appeal

of this Court’s order granting a preliminary injunction.

      A.     Secretary Kemp Is Substantially Likely to Succeed on the Merits of
             His Appeal.

             1. Laches Bars Plaintiffs’ Claims.

      Many courts have concluded that laches barred a last-minute challenge to

longstanding election laws during or on the eve of elections. See Perry v. Judd, 471

Fed. Appx. 219 (4th Cir. 2012) (laches barred “last-minute lawsuit” challenging


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Virginia election laws and seeking injunctive relief where the laws had been “on the

books for years”); Marshall v. Meadows, 921 F. Supp. 1490, 1493-94 (E.D. Va.

1996) (laches barred challenge to Virginia open primary law when plaintiffs filed suit

95 days before the challenged primary was scheduled to take place, noting that

“plaintiffs have slept on their rights”); Fulani v. Hogsett, 917 F.2d 1028, 1031 (7th

Cir. 1990) (laches barred claim when plaintiff waited 11 weeks to file suit as election

approached); Marcellus v. Va. State Board of Elections, 2015 U.S. Dist. LEXIS

120584 (E. D. Va. 2015) (finding laches when plaintiffs challenge statute that had

been in effect for 14 years); Soules v. Kauaians for Nukolii Campaign Committee,

849 F. 2d 1176 (9th Cir. 1988) (“The record establishes without dispute that

appellants knew the basis for their alleged equal protection challenge well in advance

of the proposed special election … [and] district court did not error in barring . . .

relief on the ground of laches.”). So here.

      Laches bars a request for equitable relief when (1) the plaintiff delays in

asserting the claim; (2) the delay is not excusable; and (3) the delay causes the non-

moving party undue prejudice. United States v. Barfield, 396 F.3d 1144, 1150 (11th

Cir. 2005); Kason Indus. v. Component Hardware Group, 120 F.3d 1199, 1203 (11th

Cir. 1997); see also Costello v. United States, 365 U.S. 265, 282 (1961). Each

element is met here.

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      That Plaintiffs delayed in asserting their claims is plain. Plaintiffs challenge

statutory provisions that have been part of Georgia’s election code for decades, and

yet they waited until after the start of the 2018 general election, to bring their

emergency suits.

      This delay is not excusable. A party requesting a preliminary injunction must

generally show reasonable diligence, Benisek v. Lamone, 138 S. Ct. 1942, 1944

(2018), and that is as true in election law cases as elsewhere. Id.; Lucas v. Townsend,

486 U. S. 1301, 1305 (1988) (Kennedy, J., in chambers); Fishman v. Schaffer, 429 U.

S. 1325, 1330 (1976) (Marshall, J., in chambers). On this point, Perry is instructive.

There, the Fourth Circuit affirmed the denial based on laches of an emergency motion

seeking injunctive relief in a constitutional challenge brought by former Texas

Governor Rick Perry to two Virginia statutes setting forth requirements for

circulation of petitions for ballot access: “Plaintiffs had every opportunity to

challenge [the Virginia statutes] at a time when the challenge would not have created

the disruption that this last-minute lawsuit has. [Plaintiffs’] request contravenes

repeated Supreme Court admonitions that federal judicial bodies not upend the

orderly progression of state electoral processes at the eleventh hour. [Plaintiffs] knew

long before now the requirements of Virginia’s election laws. There was no failure

of notice. The requirements have been on the books for years.” Perry, 471 Fed.

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Appx. at 220-21. The Court went on to state that eleventh hour changes to an

otherwise orderly election process are “not just caution lights to lower federal courts;

they are sirens.” Id. at 228. That admonition applies equally here.

      It is true that “[a]n inexcusable delay can only occur after the plaintiff

discovers or should have discovered the facts giving rise to his or her cause of

action.” Marcellus v. Va. State Bd. of Elections, 2015 U.S. Dist. LEXIS 120584 at

*17 (E.D. Va. 2015). But as this Court acknowledged, Plaintiffs challenge the statute

only on its face, so no “facts giving rise to [their] cause of action” awaited discovery.

This Court pointed out that Plaintiffs contended that news articles “highlighted” the

alleged issues with the law for them, GMVP Doc. 28 at 18, but the provisions at issue

have been part of Georgia’s election law for decades, and Plaintiffs have offered no

valid excuse for not knowing they were on the books. Indeed, the GMVP Plaintiffs

contend that their “mission includes increasing civic engagement and voter turnout,”

GMVP Docs. 5-2 ¶ 2, 5-3 ¶ 2, which suggests that they should have been acutely

aware of the election laws and particularly able to bring these claims well in advance

of the election.

      Finally, Plaintiffs’ requested relief (and the Court’s granted relief) would cause

significant prejudice to the Defendants. Harvey Decl. ¶ 15, GMVP Doc. 31-1

Ledford Decl. ¶¶ 19-22, GMVP Doc. 30-1. “Ballots and elections do not magically

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materialize. They require planning, preparation, and studious attention to detail if the

fairness and integrity of the electoral process is to be observed.” Perry, 471 Fed.

Appx. at 226. Last-minute challenges to election laws result not only in prejudice to

governmental defendants who must administer and supervise the elections, but also to

the public, since governmental defendants “are charged with ensuring the uniformity,

fairness, accuracy, and integrity of [the state’s] elections.” Id. at 227. Serious

disruption to state electoral processes is thus directly against the public interest in

having an orderly and fair election. Id. at 227. The relief requested (and granted)

here is no exception. See generally Harvey Supp. Decl., GMVP Doc. 31-1 Ledford

Supp. Decl., GMVP Doc. 30-1.

             2. Plaintiffs Are Not Likely to Prevail on the Merits of Their Facial
                Due Process Challenge.
      “A § 1983 claim alleging a denial of procedural due process requires proof of

three elements: (1) a deprivation of a constitutionally-protected liberty or property

interest; (2) state action; and (3) constitutionally-inadequate process.” J.R. v. Hansen,

736 F.3d 959, 965 (11th Cir. 2013). And where, as here, the claim is a facial

challenge, a plaintiff must show that “no set of circumstances exists under which the

[statute] would be valid, i.e., that the law is unconstitutional in all of its applications.”

Washington State Grange v. Washington State Republican Party, 552 U.S. 442, 449

(2008) (quoting United States v. Salerno, 481 U.S. 739, 745 (1987)). Plaintiffs have
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failed to state a facial procedural due process claim.3 Even assuming the State has

conferred a protected liberty or property interest in voting via absentee ballot, the

statutory process for doing so comports with federal due process—or at the very least,

cannot be said to violate due process in all its applications.

      In determining what process is due when the state deprives one of its citizens

of a liberty or property interest, courts apply the factors from Mathews v. Eldridge,

which balance (1) “the private interest that will be affected by the official action”; (2)

“the risk of an erroneous deprivation of such interest through the procedures used,

and the probable value, if any, of additional or substitute procedural safeguards; and

(3) “the Government's interest, including the function involved and the fiscal and

administrative burdens that the additional or substitute procedural requirement would

entail.” Hansen, 736 F.3d at 966. “The Supreme Court in Mathews admonished

courts employing this test to recognize that ‘procedural due process rules are shaped

by the risk of error inherent in the truth finding process as applied to the generality of

cases, not the rare exceptions.’” Id. (quoting Mathews, 424 U.S. at 344).

3
  Secretary Kemp notes that the Martin plaintiffs have not raised, briefed, or argued a
procedural due process claim at all; their complaint raises only a substantive due
process claim and an equal protection claim. (Martin Doc. 10 ¶¶ 54–72.) There could
hardly be a clearer example of a failure to state a claim on which relief may be
granted. For this reason alone, Court erred in granting a preliminary injunction in
the Martin case based on a likelihood of success on the merits of a procedural due
process claim (Martin Doc. 23 at 21), and Secretary Kemp is therefore exceedingly
likely to succeed on the merits of his appeal in Martin.
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“And constitutionally adequate process, the Supreme Court has said, is a

flexible concept that ‘cannot be divorced from the nature of the ultimate decision that

is being made.’” Id. at 965 (quoting Parham v. J.R., 442 U.S. 584, 608 (1979)).

      Applying the Mathews factors shows that Georgia’s statutory scheme provides

sufficient procedural safeguards for individuals who wish to take advantage of the

convenience of voting by mail.

      First, contrary to this Court’s suggestion, the private interest at issue here is not

“entitled to substantial weight” because it “implicates the individual’s fundamental

right to vote.” (GMVP Doc. 28 at 24). Plaintiffs allege that the signature-match

requirement leads to deprivations of two interests here: receiving an absentee ballot

and being able to vote by absentee ballot. Those interests together amount at most to

a privilege and a convenience, different in kind from the fundamental right to vote

itself.4 No part of the challenged procedures burden that latter fundamental right; to

the contrary, the entire mail ballot scheme expands the franchise by providing voters

with an additional and convenient option for voting. And voters whose absentee

ballots or ballot applications are rejected, whether for signature issues or because of


4
  As an initial matter, even these two interests are not equal; at least one court has
concluded that although an interest in casting an absentee ballot is a protectable
interest, the interest in receiving a ballot—i.e., having an application accepted—is
not. See Zessar v. Helander, 2006 U.S. Dist. LEXIS 9830 (N.D. Ill. 2006), vacated as
moot, 536 F.3d 788 (7th Cir. 2008).
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other deficiencies, can still vote, either in person or by correcting the deficiency with

another ballot application or ballot.5 In other words, the private interest here is not

“substantial” because the rare individuals who could be deprived of the interest at

stake would not be deprived of the ability to vote—only the convenience of voting by

mail.

        Second, the statutory procedures already minimize the risk of erroneous

deprivation both as to the absentee ballot application and the ballot itself. In both

instances, the statutes provide for prompt notice to the voter and an unlimited ability

to cure the deficiency by submitting another application or ballot. In addition, in

Gwinnett County, where Plaintiffs appear to have heightened concerns due to “news

reports,” all rejections for questionable signatures are given a second layer of review

by a team of three experienced current and former directors of election. (Ledford

Decl., GMVP Doc. 23-1 ¶ 15). Moreover, the risk of erroneous deprivation appears

to be demonstrably low: for instance, in Gwinnett County, only nine absentee ballots

have been rejected due to signature mismatch thus far. (Ledford Decl., GMVP Doc.

23-1 ¶ 18.)




5
 Early voting began in Georgia on October 15, 2018 and will continue through Nov.
2, 2018. O.C.G.A. § 21-2-385(d)(1). While some counties have early voting on
multiple Saturdays, all counties will have early voting on Saturday, Oct. 27, 2018. Id.
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      Additional safeguards, such as those requested by Plaintiff or imposed by this

Court, will add little value. Plaintiffs do not explain how a “hearing” to determine

the validity of a voter’s signature, where the voter would presumably have to appear,

would be any more beneficial to the voter than merely correcting the deficiency with

the ballot or application, or showing up at the county election office with

identification and either voting in person or getting another absentee ballot.

Requiring the state to conduct hearings or other additional process regarding a voter’s

identity is completely unnecessary since that simple verification of identity can be

accomplished by the voter simply showing up at the county election office. The same

goes for this Court’s new appeal process.

      Third, the State has a compelling interest in the orderly administration of

elections and in preventing fraud. Purcell v. Gonzalez, 549 U.S. 1, 4 (2006);

Common Cause/Georgia v. Billups, 554 F.3d 1340, 1353 (11th Cir. 2009) (quoting

Crawford v. Marion County Election Bd., 553 U.S. 181, 194-195 (2008)). The

Court’s injunction harms that interest by permitting a voter “to send or rely upon a

duly authorized attorney or attorney in fact to present proper identification” to resolve

a signature discrepancy. GMVP Doc. 26 ¶ 2. Allowing individuals other than the

voter to “confirm” the voter’s identity merely by having the voter’s identification




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plainly introduces a risk of fraud—particularly absent any kind of oath or affidavit

requirement for the “attorney” presenting the voter’s identification.

      In addition, “the fiscal and administrative burdens” entailed by the additional

process this Court’s injunction would require are substantial. J.R. v. Hansen, 736

F.3d 959, 966 (11th Cir. 2013). Ensuring statewide compliance with the injunction’s

requirements would require other significant administrative burdens, including

significant changes to how at least some counties track absentee ballot rejections;

changes to the systems for tracking absentee ballot voters; and more. See Harvey

Supp. Decl. ¶ 4–7, GMVP Doc. 31-1.6 Moreover, creating a new right of appeal for a

certain subset of provisional ballots as this Court’s injunction requires burdens not

only county election officials but also state courts—whose jurisdiction this Court’s

injunction now purports to expand to hear this new class of appeal, presumably on an

expedited basis post-election. GMVP Doc. 26 ¶ 2. This appeal requirement, given

the timelines generally required for appeals under the statute the Court has borrowed

to set out the procedure for appeals, also threatens counties’ ability to meet their

certification deadline. Harvey Supp. Decl. ¶ 3, GMVP Doc. 31-1. This Court’s

injunction order attempts to rectify that significant flaw by setting out that unresolved

6
 The order’s requirement that election officials send rejection notices via electronic
means when available additionally burdens county election officials, who will have to
determine on a case-by-case basis whether individuals have provided email addresses
for such notices. GMVP Doc. 26 ¶ 1.
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appeals “shall not require recertification of the election results unless those votes

would change the outcome of the election.” GMVP Doc. 26 ¶ 1. But this only

introduces a new problem: given that this appeal requirement is brand new, there is

no system or reporting requirement in place for determining whether the number of

ballots subject to unresolved appeals across the state is high enough to potentially

change the outcome of the election.

      Plaintiffs’ characterization of their requested relief as “minimal,” see GMVP

Doc. 1 ¶ 8, underscores their misunderstanding of both the purpose and consequences

of a challenge to a voter’s qualification to vote any ballot, and the simple verification

of one’s identity. A hearing is required, and afforded, to any voter whose

qualification to vote, in any manner, is challenged. O.C.G.A. § 21-2-230(g). But the

rejection of an absentee ballot is not a challenge to a voter’s qualifications, but the

voter’s identity; a matter which the voter can easily cure with identification.

Importantly, challenges to a voter’s qualifications are rare, but many voters choose to

vote by absentee ballot. Requiring a hearing would place additional burdens on the

already heavily taxed election officials administering the election. See, e.g., Ledford

Supp. Decl. ¶ 9, GMVP Doc. 30-1 (indicating that Gwinnett County’s elections staff

is already “at their maximum capacity” preparing for the election, and that providing

“anything more than a mailed notification to voters about the status of their ballot”

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after the election, when the staff “must process all cast provisional ballots and work

quickly toward final certification” would be “burdensome”).

      In its analysis of the Mathews factors, this Court expressed concern for “a

category of absentee voters who vote by mail because they physically cannot show

up in person,” whether because of a “physical infirmity” or otherwise. (GMVP Doc.

at 24, 25.) To the extent that analysis might turn out differently for that category of

voters—e.g., if it could be shown that the interest in voting by mail is significantly

stronger or the value of additional process significantly higher for such voters—that

might perhaps afford a potential basis for an as-applied challenge to the statute

brought by voters that fall within that category. But as this Court acknowledged, the

only procedural due process challenge in this case is a facial challenge. Showing that

the process afforded may not be sufficient for only a subset of voters does not meet

the high standard for proving a facial challenge, that is, “that the law is

unconstitutional in all of its applications.” Washington State Grange, 552 U.S. at

449. Thus, pointing out conceivably stronger interests of this category of voters in

additional process does not support the Court’s conclusion that Plaintiffs are likely to

succeed on their facial procedural due process challenge.

      None of the cases Plaintiffs or this Court rely on support requiring the

additional process outlined in this Court’s preliminary injunction. Most notably,

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unlike Georgia’s statute, the state statutes in each of those cases did not even afford

notice to the voter until after the election, if at all.

       In Raetzel v. Parks/Bellemont Absentee Election Bd., 762 F. Supp. 1354, 1357-

1358 (D. Ariz. 1990), which did not specifically address a signature match ballot

component, the court reviewed a statute where an “Absentee Election Board”

determined whether each absentee ballot counted and the voter was never provided

any notice, even post-election. The district court, not surprisingly, found a scheme

that did not allow a voter notice of the disqualification, or an opportunity to fix the

problem even for future elections, problematic. Id. at 1358 (“The disqualified voter

may never ascertain the justification for the rejection of their vote in order to cure the

defect for future eligibility.”)

       In Saucedo v. Gardner, 2018 U.S. Dist. LEXIS 136895 (D. N.H. 2018), the

New Hampshire state statute at issue provided that absentee ballots were not

reviewed until election night, and then signatures on the ballots were compared to the

signatures on the absentee ballot applications. Id. at 9-10. Like Arizona, New

Hampshire provided no notice to the voter even after the election. Id. at 10-11.

Importantly, the New Hampshire statute provided additional reasons a ballot might be

rejected, such as not including any signature or otherwise improperly executing the

affidavit on the ballot. Id. at 10. Nonetheless, the court only found that the signature

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match provision, with no notice to the voter either before or after the election,

violated procedural due process. Id. at 44-45.

      In Zessar v. Helander, 2006 U.S. Dist. LEXIS 9830 (N.D. Ill. 2006), vacated

as moot, 536 F.3d 788 (7th Cir. 2008), again the statute at issue provided no pre-

election notice to any voter whose ballot was rejected. And again, the matching of a

signature on the ballot envelope against the voter’s registration record did not take

place until the night of the election. Id. at * 6-7. In addition, the statute provided for

notice to the voter only after a twenty-one (21) day, post-election, period for

recounts. Id. at 8. The court held that voters whose absentee ballot applications had

been approved had a state conferred liberty interest protected by procedural due

process, and recognized that absentee ballot applicants did not. Id. at * 17-19. “The

right to receive an absentee ballot is not the same as the right to vote.” Id. at * 17.

However, once the state has approved the absentee ballot application, “absentee

voters are entitled to [procedural] due process protection.” Id. at * 19.

      In Florida Democratic Party v. Detzner, 2016 U.S. Dist. LEXIS 143620 at *5

(N.D. Fl. 2016), the challenged statutes provided that if a voter mailed in an absentee

ballot, but forgot to sign the oath, the voter could cure the deficiency up until 5 pm

the day before the election by providing another oath and photo identification.

However, if the voter signed the oath, that signature was matched against the voter’s

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registration records and the ballot was rejected without notice to the voter or any

opportunity to cure. After the election, the voter would be notified and sent a new

voter registration form. Id. at *19. The district court analyzed the statute under the

Anderson and Burdick line of cases and found the system irrational because it

allowed voters to cure some deficiencies, up to 5 pm the day before the election, but

not a deficiency as to the match of the signature. Id. at 21. The district court held

that the same cure period, i.e., up to 5 pm on the day before the election, should apply

to voters whose ballots were rejected due to the signature non-match. Id. at 28-29.

Importantly, the notice due to voters is that provided in the statute for other

deficiencies, that election officials “shall, on behalf of the county canvassing board,

notify each elector whose ballot was rejected….” Id. There was no requirement of

any specific method of notification or even standard by when notice had to be

accomplished.

      Finally, in La Follete v. Padilla, CPF-17-515931, slip op. at 2 (Cal. Super. Ct.

Mar. 5, 2018), the challenged statute, like Florida’s, provided that if a voter failed to

sign the absentee ballot they were provided notice of the rejected ballot and an

opportunity to cure prior to the certification of the election. Id. However, like

Florida, if the absentee ballot was rejected for failure to match the signature, the voter

received no notice, even after the election. Id. The California court, relying largely

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on Zessar, held that the state conferred right to vote absentee was due procedural due

process protection. Id. at *4-6.

      Far from supporting imposition of additional procedural requirements, these

cases highlight the relative strength of the additional measures Georgia already

provides to ensure that would-be absentee voters have every opportunity to use that

convenient option while still safeguarding the integrity of Georgia’s elections—in

particular, prompt notice of deficiencies and ability to cure right up until election day.

In addition, it is telling that even in these cases, where courts found violations of due

process, no court required a hearing, much less the appeal rights this Court’s

injunction requires, to resolve the signature issues on a ballot. Even assuming an

individual’s interest in voting by mail rather than in person is subject to federal due

process, due process does not require such substantial procedures as these to protect

an interest in the state-conferred privilege and convenience of not visiting a polling

place in person.

      B.     The State Will Be Irreparably Harmed Absent A Stay.
      Along with likelihood of success on the merits, whether the stay applicant will

be irreparably injured absent a stay is a “most critical” factor in the analysis whether

to grant a stay pending appeal. Hand, 888 F.3d at 1207. That factor strongly favors

granting a stay. “Any time a State is enjoined by a court from effectuating statutes


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enacted by representatives of its people, it suffers a form of irreparable injury.” Id.

(quoting Maryland v. King, 567 U.S. 1301, 1301 (2012) (Roberts, C.J., in chambers)

(quotations omitted)). Especially so in the election context; the Supreme Court has

repeatedly recognized the harm caused by upsetting a state’s election process with

last minute changes to its process. Purcell v. Gonzalez, 549 U.S. 1, 4-5 (2006);

Benisek v. Lamone, 138 S. Ct. 1942 (2018). The State “has a substantial interest in

avoiding chaos and uncertainty in [statewide] election procedures, and likely should

not be forced to employ” a set of new, ad hoc procedures “created on an artificial

deadline.” Id. This Court should be “reluctant to upset the system now in place—

particularly since [its] order creates so truncated a schedule—when there is a good

chance [its] order may be overturned, and the system would need to be changed still

again…. Put another way, there is wisdom in preserving the status quo ante until” the

Eleventh Circuit “has had an opportunity on full briefing to come to grips” with the

constitutional issues raised in this case. Id.

      C.     Issuing a Stay Will Not Substantially Injure the Other Parties.
      A stay pending appeal of this Court’s preliminary injunction likely would not

affect the Plaintiffs’ interests in any meaningful way. During the pendency of an

appeal, the organizational plaintiffs seem unlike likely to change the level of

resources committed to voter education whether or not the Court’s new procedures


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are in place. If a stay is granted, those plaintiffs would presumably continue their

efforts to inform voters about the current processes; if not, they would presumably

need to inform voters about the new processes ushered in by this Court’s injunction.

As for the individual plaintiffs in Martin, none have alleged any facts demonstrating

that any would even be affected by the new processes, or that they otherwise would

not be able to have their votes counted in this election—whether by completing the

mail ballot process or by voting in person—but for the Court’s injunction. The

Plaintiffs’ interests in an immediately effective preliminary injunction thus pale in

comparison to the harm to the State absent a stay. See Ledford v. Comm'r, Georgia

Dep't of Corr., 856 F.3d 1312, 1315 (11th Cir.) (considering whether “the threatened

injury outweighs the harm the [stay] would cause the other litigant”).

      D.     Granting a Stay Is in the Public Interest.
      Staying this Court’s preliminary injunction is in the public interest.

“Confidence in the integrity of our electoral processes is essential to the functioning

of our participatory democracy.” Purcell, 549 U.S. at 4. Putting this injunction into

effect in the middle of the 2018 general election after highly accelerated proceedings

will undermine that confidence. Each of Georgia’s 159 counties have started early

in-person voting and they have already trained all of their personnel on current

election processes. Adding new, ad hoc processes immediately to the mix risks


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introducing uncertainty and confusion across the state, and it is sure to further strain

each county’s resources. See Ledford Decl. ¶¶ 19-23, GMVP Doc. 23-1. Granting a

stay will assure the public that both the judiciary and the State will “ensur[e] proper

consultation and careful deliberation” before disrupting the election process. Hand,

888 F.3d at 1215. This is especially important in light of the compelling interest the

absentee ballot procedures protects: “Georgia’s interest in preventing election fraud

that ‘provides a sufficient justification for carefully identifying all voters participating

in the election process.’” Common Cause/Georgia, 554 F.3d at 1353 (quoting

Crawford, 553 U.S. at 194-195).

                                     CONCLUSION

      For the above reasons, this Court should grant a stay pending appeal of its

order granting a preliminary injunction.

                                         Respectfully submitted,

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                            Certificate of Compliance

      I hereby certify that the forgoing motion for a stay pending appeal was

prepared in 14-point Times New Roman in compliance with Local Rules 5.1(C) and

7.1(D).

                                           /s/Cristina Correia
                                           Cristina Correia




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                               Certificate of Service

      I hereby certify that on October 25, 2018, I electronically filed this Notice of

Appearance with the Clerk of Court using the CM/ECF system which will

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I hereby certify that I have mailed by United States Postal Service the document to
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